                 Case 2:11-cr-00454-JAM Document 57 Filed 07/18/12 Page 1 of 2


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     Attorney for Defendant
 4
     JONATHAN SHERMAN
 5
                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 6

 7
     UNITED STATES OF AMERICA,                         )    No. CR-S-11-454 GEB
 8
                                                       )
               Plaintiff,                              )
 9
                                                       )    STIPULATION AND
     v.
                                                       )    PROPOSED ORDER TO REQUEST PRE-PLEA PRE-
10
     JONATHAN SHERMAN,                                 )    SENTENCE REPORT
                                                       )
11
               Defendant.                              )
                                                       )    Date: September 7, 2012
12
                                                       )    Time: 9:00 a.m.
                                                       )    Judge: Honorable Garland E. Burrell, Jr.
13
                                                       )
                                                       )
14
                                                       )
15
               IT IS HEREBY stipulated between the United States of America through its undersigned
16
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
17
     Jonathan Sherman, Shari Rusk, that the probation office prepare a pre-plea pre-sentence report in
18
     this matter.    The parties have spoken with probation about the time it will take to complete this
19
     report.    The matter is set on calendar for a status conference on September 7, 2012.    The report
20
     will take approximately four weeks to complete.       The parties request that the Court order a pre-
21
     plea probation report be prepared prior to the September 7, 2012 status date for review by
22
     government counsel and the defendant.
23
               The parties, the United States of America and the defendant as stated above, hereby agree
24
     and stipulate that the ends of justice served by the granting of such a continuance outweigh the
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     best interests of the public and the defendants in a speedy trial and that time under the Speedy
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     Trial Act should therefore be excluded under Title 18, United States Code Section 3161(h)(7)(A)
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                             Case 2:11-cr-00454-JAM Document 57 Filed 07/18/12 Page 2 of 2



 1   and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to prepare).                 Time was

 2   previously excluded by stipulation and order until the September 7, 2012 status date.

 3   IT IS SO STIPULATED.

 4
     Dated: July 17, 2012
 5                                                                              /s/ Shari Rusk
                                                                               SHARI RUSK
 6                                                                             Attorney for Defendant
                                                                               Jonathan Sherman

 7

 8   Dated: July 17, 2012                                                      Benjamin B. Wagner
                                                                               United States Attorney

 9                                                                      by:    /s/ Jill M. Thomas
                                                                               JILL M. THOMAS
10                                                                             Assistant U.S. Attorney


11
                                                         ORDER
12
                           The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
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     Based on the stipulation of the parties and the recitation of facts contained therein, the Court
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     orders that the probation office prepare a pre-plea pre-sentence report within the time limits
16
     established in 18 U.S.C. § 3161.
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                           The Court orders that the time from the date of the parties' stipulation, July 17, 2012,
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     to and including September 7, 2012, shall be excluded from computation of time within which the
19
     trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
20
     3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
21
     prepare).
22

23

24
     IT IS SO ORDERED.
25
     Date:                 7/17/2012

26                                                           _________________________
                                                             GARLAND E. BURRELL, JR.
27                                                           Senior United States District Judge
     DEAC_Signature-END:




28   61khh4bb




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